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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

LAS VEGAS POLICE PROTECTIVE
ASSOCIATION METRO INC., ef al.,

Case No. 2:15-cv-01928-LDG (CWh)
Plaintiffs,

SUMMARY JUDGMENT
V.

LAS VEGAS METROPOLITAN
POLICE DEPARTMENT,

Defendant.

 

 

This matter came before the Court on the defendant Las Vegas Metropolitan Police
Department’s Motion for Summary Judgment, which motion the Court granted. Therefore,

THE COURT ORDERS AND ADJUDGES that the plaintiffs recover nothing, that the
action be dismissed on the merits, and that the defendant Las Vegas Metropolitan Police

Department recover its costs from the plaintiffs.

DATED this | day of March, 2019.

 

 

 

Lloyd D. =. e ~
United States District Judge

 
